      Case: 4:20-mj-07194-SPM Doc. #: 1 Filed: 07/08/20 Page: 1 of 1 PageID #: 1




  O   el   (ltc\ ll;ll)    C.iminal Compltint



                                              UNnpo Srarns DrsrRrcr Counr
                                                                                 for the

                                                         EASTERN DISTR]CT OF MISSOURI

                          United States of America                                  )
                                                                                    )
                      TERICA TANEISHA ELLIS                                         )       Case   No.   4:20 MJ 7194 SPM
                                                                                    )
                                                                                    )
                                                                                    )
                                                                                    )
                                  Defenda t(s)


                                                             CRIMINAL COMPLAINT
              I, the compiainant in this case. state thsl the follorving is rrue to the best of rny knorrledge and belief.
 On or aboul the date(s)            of                   March 14.2016                     in the count)   ol           City of St. Louis          in lhe
           Eastern            District   of             Mi.ssouri              , the defendant(s)   violaled:

                 Code Section                                                                 Ofense Descriptiort

 t8 u.s.c. I958                                            CI.   l-     ConspiElcy to Use Interstale ConlrDercc Facilities io CoEmission    of
                                                           Murder-forl'lire, resulting in death




             This criminal complaint is based on these facts:

                                                                 SEE ATTACHED AFFIDAVTT




             3   Conrinued on the attached sheet


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                                                                                                                Conplohro    's sig anoe

                                                                                                      Christopher Frber. Speciai Agert. FBI

                                                                                                                Pfiued trcnc atld tiie

Sworn- to, atlesred to, atd affirmed before nre via rcliable electronic means pursuant to Fcdcral l{ules ofCriminal Procedure 4.1                     ald 4l


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Datc:
                                                                                                                  J   dga'r rignIno?

Cit)'and state:                                 St. Louis- i\,lisroud                      Honorable Shirlcy I'. Nlensah. U.S. Nlaeistrate Judge
                                                                                                                I'ri edn     e ond tule
